                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

       In Re: Bruce Asher                    )
              SSN: XXX-XX-7631               )      Case No. 16-81438-CRJ-7
              June Asher                     )      Chapter 7
              SSN: XXX-XX-9635               )
                                             )
Debtors.                                     )

                             MOTION TO APPROVE SETTLEMENT
                                 AND DISTRIBUTE FUNDS

       COME NOW the Debtors, Bruce and June Asher, and request that the Court approve the
following settlement with regard to insurance proceeds relating to an automobile accident and distribute
funds as set out below. In support of this motion, Debtors state as follows:

   1. This case was filed on May 13, 2016 and subsequently converted to a case under Chapter 7 on
      September 2, 2021.

   2. When Debtors initially filed their case, they owned a 2013 Hyundai Accent. Flagship Credit
      Acceptance was the lienholder. That vehicle was wrecked and the Debtors were permitted to use
      the insurance proceeds to purchase a replacement vehicle, a 2014 Chevrolet Equinox, in which
      Flagship held the replacement lien. During the course of the chapter 13 case, the claim to
      Flagship was paid and it released its lien on the vehicle.

   3. The 2014 Chevrolet Equinox was involved in an accident and declared a total loss. Progressive
      Insurance has agreed to pay $10,210.92 for the vehicle.

   4. Debtors have exempted $10,045.00 of the proceeds and request that those funds be distributed to
      them. Debtors consent to the balance of the funds of $165.92 being paid to the Chapter 7 Trustee.

       WHEREFORE, THE ABOVE PREMISES CONSIDERED, Debtors request that the Court
approve the settlement with Progressive Insurance and authorize the distribution of the proceeds as set
out above.


                                                    /s/ Melissa W. Larsen
                                                    MELISSA W. LARSEN
                                                    Attorney for Debtors
                                                    521 Madison Street, Ste 201
                                                    Huntsville, Alabama 35801
                                                    Phone: (256) 970-4217




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                                   CERTIFICATE OF SERVICE

       I, Melissa W. Larsen do hereby certify that I have this day served a copy of the above and
foregoing instrument, electronically, on Tazwell Shepard, Chapter 7 Trustee, and postage paid and
properly addressed to all entities listed on the Clerk’s matrix, and on

       Progressive Insurance
       c/o Saranda Sumerlin
       2100 River Chase Center, Bldg 100, Ste 110
       Birmingham, AL 35244

       THIS the 10th day of September, 2021.

                                                    /s/ Melissa W. Larsen
                                                    MELISSA W. LARSEN




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